                   Case 2:24-cr-00361-SB Document 1 Filed 05/28/24 Page 1 of 7 Page ID #:1
AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)            ‫ ܆‬Original    ‫ ܆‬Duplicate Original


          LODGED
                                          UNITED STATES DISTRICT COURT
   CLERK, U.S. DISTRICT COURT

                                                                                                                   5/28/2024
   5/28/2024                                                for the
                                                                                                                       VV
CENTRAL DISTRICT OF CALIFORNIA
              CDO
 BY: ____________BB______ DEPUTY
                                                 Central District of California

 United States of America

                            Plaintiff

                            v.
                                                                      Case No.    2:24-mj-03119-DUTY
 MARIO ALBERTO MORALES,
     aka “Demon,”
            Defendant.


                                         CRIMINAL COMPLAINT BY TELEPHONE
                                        OR OTHER RELIABLE ELECTRONIC MEANS

            I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of May 13, 2024, in the County of Los Angeles in the Central District of California, the

defendant violated:

                Code Section                                          Offense Description

                18 U.S.C. § 922(g)(1)                                 Felon in Possession of a Firearm

            This criminal complaint is based on these facts:

              Please see attached affidavit.

            _ Continued on the attached sheet.

                                                                             /s/ Stephanie Crebbs, ATF Special Agent
                                                                                      Complainant’s signature

                                                                           Stephanie Crebbs, ATF Special Agent
                                                                                     Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:                             5/28/2024
                                                                                        Judge’s signature

 City and state: Los Angeles, California                                  U.S. Magistrate Judge Margo A. Rocconi
                                                                                     Printed name and title

AUSA: Jason A. Gorn x7962
  Case 2:24-cr-00361-SB Document 1 Filed 05/28/24 Page 2 of 7 Page ID #:2



                                AFFIDAVIT

     I, Stephanie Crebbs, being duly sworn, declare and state as

follows:

                        I. PURPOSE OF AFFIDAVIT

        1.   This affidavit is made in support of criminal

complaint and arrest warrant against Mario Alberto MORALES

(“MORALES”) for a violation of 18 U.S.C. § 922(g)(1): Felon in

Possession of a Firearm.

        2.   The facts set forth in this affidavit are based upon

my personal observations; my training and experience; and

information obtained from various law enforcement personnel and

witnesses.     This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

arrest warrant and does not purport to set forth all of my

knowledge of or investigation into this matter.          Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and part only.

         II. BACKGROUND OF ATF SPECIAL AGENT STEPHANIE CREBBS

        3.   I am a sworn Special Agent with the United States

Department of Justice, Bureau of Alcohol, Tobacco, Firearms and

Explosives (“ATF”), and have been so employed since February

2009.    I am currently assigned to the ATF Long Beach Field

Office.      As a Special Agent, I have received hundreds of hours

of formal and informal training in the enforcement of federal

firearms laws and regulations, including training through the




                                    1
 Case 2:24-cr-00361-SB Document 1 Filed 05/28/24 Page 3 of 7 Page ID #:3



ATF National Academy and Federal Law Enforcement Criminal

Investigator Training Program.

     4.     Through working for ATF, I have conducted

investigations into the unlawful sale, possession,

manufacturing, transportation, and importation of firearms.            In

conducting these investigations, I have used a variety of

investigative techniques, including surveillance and the

execution of search and arrest warrants.        Additionally, I have

worked in an undercover capacity for ATF on investigations

related to individuals selling firearms and narcotics.

                   III. SUMMARY OF PROBABLE CAUSE
     5.     On May 13, 2024, Los Angeles Sheriff’s Department

(“LASD”) deputies observed MORALES attempt to retrieve or

discard something in a parking lot after he appeared to notice

the deputies on patrol.     Surveillance video showed MORALES take

a black pistol from a pocket in his shorts and discard it inside

of a vending machine in the parking lot.        Deputies recovered a

firearm from the vending machine and arrested MORALES for

possessing the loaded firearm.      During a Mirandized interview,

MORALES admitted to possessing the firearm, but then later

recanted.    MORALES is a convicted felon with six prior felony

convictions, including a felony burglary conviction.

                   IV. STATEMENT OF PROBABLE CAUSE

     6.     Based on my review of law enforcement reports and

documents, criminal history reports, photographs, as well as my

own observations and knowledge of the investigation, I am aware

of the following:

                                   2
  Case 2:24-cr-00361-SB Document 1 Filed 05/28/24 Page 4 of 7 Page ID #:4



     A.   Arrest of MORALES

     7.   On May 13, 2024, at approximately 9:59 p.m., LASD

Deputy Gary Bonilla and Deputy Ricard Mejia were on patrol in a

marked police car conducting a patrol check of the “Dixie Motel”

in Compton, CA.

     8.   The deputies saw MORALES standing near the hood of a

silver Nissan Versa. The Versa had no rear license plate.

MORALES looked in the direction of the deputies and appeared to

notice their presence. Upon noticing their presence, MORALES

immediately walked away from the Versa and proceeded to walk

northbound through the parking lot. As the deputies continued

driving southbound, Deputy Mejia was able to keep MORALES in

view by watching MORALES via the side passenger mirror of the

patrol vehicle.

     9.   Deputy Mejia saw MORALES walk to the northwest corner

of the parking lot, bend over and discard an item near the

ground.

     10. Deputy Mejia conducted a U-turn and drove northbound

through the parking lot towards MORALES.         As the deputies

approached MORALES, Deputy Mejia immediately recognized MORALES

as an active gang member from Compton criminal street gang

“Compton Varrio 70's,” who goes by the moniker of “Demon” and/or

“Blackie.”   Deputy Mejia also knew that MORALES is on active

probation with search conditions.        MORALES was detained pending

a stolen vehicle investigation and a probation compliance

investigation.



                                    3
 Case 2:24-cr-00361-SB Document 1 Filed 05/28/24 Page 5 of 7 Page ID #:5



     11. Deputy Bonilla conducted a probation compliance check

of MORALES.   Tucked in his right sock, Deputy Bonilla located

and recovered a plastic bindle with an off-white crystal-like

substance.

     12. Deputy Mejia conducted a search of the immediate area

where MORALES was detained.      Inside of a vending machine in the

area where Deputy Mejia had seen MORALES bend over and either

distribute or discard an item, Deputy Mejia located and

recovered a firearm.    The firearm is a semi-automatic, Taurus

G2, 9mm pistol, serial number ACH125575.        The firearm was loaded

with eight rounds of ammunition.

     13. Deputy Mejia contacted the motel management who

provided access to surveillance footage.        The surveillance

footage showed MORALES standing next to the Versa, then start

walking northbound through the parking lot immediately after

appearing to notice the deputies.       MORALES looked in the general

direction of the deputies before removing a black pistol from

his front right shorts pocket and placing it inside of the

vending machine.    The pistol is clearly visible on the

surveillance footage.

    B.   MORALES’s Statements

     14. Deputy Mejia read MORALES his Miranda Rights. MORALES
stated he understood his rights and agreed to speak to the

deputies without an attorney present.       Deputy Mejia informed

MORALES that they obtained video evidence showing him place the

firearm inside a vending machine.       MORALES told Deputy Mejia

that he was carrying the firearm because he is a gang member and

                                   4
  Case 2:24-cr-00361-SB Document 1 Filed 05/28/24 Page 6 of 7 Page ID #:6



needs to defend himself.      Upon further questioning, MORALES

began to deny knowledge of the firearm but admitted to being in

possession of the narcotics.

C.   MORALES’s Criminal History

     15.    On May 23, 2024, I reviewed a California Law

Enforcement Telecommunications System (“CLETS”) criminal history

report and a Los Angeles County Consolidated Criminal History

Report System (“CCHRS”) criminal history report for MORALES.

Based on a review of these reports, MORALES has previously been

convicted of the following felony crimes, each punishable by a

term of imprisonment exceeding one year:

            a.   On or about July 29, 2009, burglary, in violation

of California Penal Code Section 459, in the Superior Court for

the State of California, County of Los Angeles, Case Number

GA075307;

            b.   On or about June 30, 2020, felon in possession of

a firearm, in violation of California Penal Code Section 29800,
in the Superior Court for the State of California, County of Los
Angeles, Case Number TA148938;

            c.   On or about August 26, 2021, vehicle theft, in

violation of California Penal Code Section 10851(A), in the

Superior Court for the State of California, County of Los

Angeles, Case Number VA155937;

            d.   On or about December 15, 2021, vehicle theft, in

violation of California Penal Code Section 10851(A), in the

Superior Court for the State of California, County of Los

Angeles, Case Number VA157261;

                                    5
  Case 2:24-cr-00361-SB Document 1 Filed 05/28/24 Page 7 of 7 Page ID #:7



           e.   On or about July 26, 2022, bringing contraband

into a jail, in violation of California Penal Code Section

4573(A), in the Superior Court for the State of California,

County of Los Angeles, Case Number BA505356; and

           f.   On or about April 16, 2024, felon in possession

of a firearm, in violation of California Penal Code Section

29800, in the Superior Court for the State of California, County

of Los Angeles, Case Number 23CMCF00085.

     D.    Interstate Nexus

     16.   On May 23, 2024, ATF Special Agent and Firearms and

Ammunition Interstate Nexus Expert David Gonzalez confirmed that

the Taurus G2, 9mm pistol, serial number ACH125575, was

manufactured outside the state of California.         Because the

firearm was found in Compton, California, I believe that it has

traveled in and affected interstate commerce.

                             V. CONCLUSION
     17.   For all of the reasons described above, there is

probable cause to believe that MORALES committed a violation of

18 U.S.C. § 922(g)(1): Felon in Possession of a Firearm.


Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
                   28 day of May,
telephone on this ____
2024.



HONORABLE MARGO A. ROCCONI
UNITED STATES MAGISTRATE JUDGE




                                    6
